        Case 1:21-cr-00380-CKK Document 81-1 Filed 11/19/21 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                    )
                                            )
          v.                                )       Criminal No. 1:21-cr-380 (CKK)
BRIAN JEFFREY RAYMOND,                      )
                                            )
                      Defendant             )

                                           ORDER

       This matter having come before the Court pursuant to the Government’s Motion to Vacate

Filing Deadlines and Sentencing Dates, upon consent, it is hereby

       ORDERED that all existing filing deadlines and the dates for the evidentiary and

sentencing hearings are vacated. It is

       FURTHER ORDERED that the parties shall appear remotely for a status hearing on

_________________ to address the defendant’s decision relating to the attorney conflict issue and

to discuss new deadlines for preliminary sentencing matters.



                                                           _________________________
                                                           COLLEEN KOLLAR-KOTELLY
                                                           United States District Judge
Entered: ____________
